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                             UNITED    STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division


 JOSIAH TIONDRA WATSON,


                   Petitioner,

                                                                 ACTION NO.         2:16cv397
        v.                                      [ORIGINAL CRIMINAL NO.              2:10cr200-2]

 UNITED      STATES OF AMERICA,


                   Respondent.

                                 MEMORANDUM        FINAL      ORDER


         This      matter    comes    before          the    court      on   the     Petitioner's


 pro se      Motion    Under     28   U.S.C.      §    2255    to    Vacate,        Set    Aside,   or

 Correct        Sentence      ("Motion")          and       accompanying         Memorandum         in

 Support, filed on June 29, 2016. ECF Nos. 196, 197.x

         On February 16,         2011,     the Petitioner pled guilty to Counts

 Two,    Three,      and Twelve of the Superseding Indictment.                             Count Two

 charged the Petitioner with Interference with Commerce by Means

 of   Robbery,        in    violation      of    18     U.S.C.      §   1951(a),          and   Counts

 Three       and    Twelve     charged      him       with    Use       of   a   Short-barreled

 Shotgun During a            Crime    of   Violence,          in violation of              18 U.S.C.

 § 924(c)(1)(A) and (B) (i) . On May 24,                      2011, having adjudged the

 Petitioner guilty,           the court sentenced the Petitioner to a total



         1 The court accepts the Motion and Memorandum in Support as
 effectively filed on the date the Petitioner certifies he placed
 them  in the    prison's  internal  mailing  system,   which  is
 June 22, 2016.  See  Houston   v.  Lack,                           487      U.S.     266       (1988)
 (articulating the "prison mailbox rule").
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 term of       four hundred twenty-six                         (426)    months      imprisonment.           The

 Petitioner did not appeal his convictions or sentences.

        On February 2,               2012,       the Petitioner filed a motion pursuant

 to    28   U.S.C.        §    2255.       ECF    No.     98.    On     May   24,     2012,        the    court

 granted a motion to withdraw this § 22 55 motion and dismissed it

 from the docket.              ECF No.           119.    On March 31,         2 014,    the Petitioner

 filed a      § 2255 motion,               ECF No.       128,    which the court dismissed as

 untimely.       ECF          No.     136.        The     Petitioner          filed      a     Motion       for

 Reconsideration,               ECF        No.     145,        which    the      court        denied.       ECF

 No. 146.       The           Petitioner           appealed,           and    the      Fourth        Circuit

 affirmed this court's ruling.                          ECF No. 171.

        On June 24,             2016,       the Fourth Circuit granted authorization

 for the Petitioner                  to file       a    successive       § 2255 motion based on

 Johnson       v.        United        States,          135      S.     Ct.    2551          (2015),       thus

 permitting consideration of the instant Motion by this court.

 ECF    No.     194.      In        Johnson,       the     Supreme       Court       struck         down    the

 residual       clause          of     the        Armed        Career    Criminal            Act    of     1984

 ("ACCA"),          in    18        U.S.C.        § 924 (e) (2) (B) (ii) ,           because         it     was

 unconstitutionally vague.                       Johnson,       135 S. Ct.          at 2563.        Welch v.

 United       States,          136    S.     Ct.        1257     (2016),      made     the         new right

 recognized in Johnson applicable on collateral review.

        Here,       the       Petitioner           was     not     sentenced         under         the    ACCA.

 Instead,        he       challenges              his      convictions           on      Counts           Three

 and Twelve,          for Use of a Short-barreled Shotgun During a Crime
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 of    Violence,     in violation of          18    U.S.C.    § 924(c)(1).           Mem.   Supp.

 at 1.    The Petitioner's underlying crimes of violence for Counts

 Three    and    Twelve        were   Hobbs   Act     robbery,      in       violation      of   18

 U.S.C.    § 1951(a).          Superseding Indictment at 6,                   15.2    "Crime of

 violence,"      for the purposes of               § 924(c) (1),        is   an offense      that

 is a felony and

         (A) has as an element the use,      attempted use, or
         threatened use of physical force against the person or
         property of another, or
         (B) that by its nature,               involves       a   substantial         risk
         that physical force against the person or property of
         another may be used in the course of committing the
         offense.


 18 U.S.C.       § 924(c)(3).         Subsection      (A)    is   the    force clause,           and

 subsection        (B)    is the      residual clause.            The    Petitioner         argues

 that Hobbs Act robbery qualifies as a "crime of violence" only

 under the residual clause,               § 924(c)(3)(B). Mem.               Supp. at 16-17.

 He    asserts     that    Johnson       invalidates        the    residual      clause,         and

 therefore his two convictions under § 924(c)(1)                             must be vacated.

 Id.


         The Petitioner's conviction and sentence do not implicate

 the ACCA and its residual clause in § 924 (e) (2) (B) (ii) , and the

 court    declines        to    extend    Johnson      to    hold       that    the    residual




        The Petitioner incorrectly states that the predicate crime
 of violence for these counts is conspiracy to commit Hobbs Act
 robbery. See Mem.         Supp. at 4.
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 clause        in    the    definition         of     "crime    of   violence"        in     §    924(c) (3)

 is unconstitutionally vague.3

          In    addition,             the    Petitioner's       argument        fails       because       the

 predicate crime of Hobbs Act robbery,                               in violation of              18 U.S.C.

 § 1951(a),          is categorically a crime of violence under the force

 clause        of    § 924(c)(3),             as     this    court     has    consistently             found.

 See Brown           v.     United          States,     No. 4:09cr81-15,             2016        WL    787450

  (E.D.        Va.         Feb.        9,      2016);        United      States         v.         Bennett,

 No. 3:15crl34,                2016    WL 354753        (E.D.    Va.    Jan.    27,     2016);         United

 States        v.     Walker,           No.    3:15cr49,        2016     WL     153088           (E.D.    Va.

 Jan. 12, 2016);                United States v. Wilson,                No. 4:15cr21              (E.D. Va.

 Dec.     8,    2015);         United States v. McDaniels,                    No.    I:15crl71,          2015

 WL     7455539       (E.D.       Va.       Nov. 23, 2015);          United      States v.            Wyche,



          3 District courts in this circuit have declined to extend
 the      ruling          in     Johnson        to     the     residual        clause        in       Section
 924(c)(3). See, e.g., United States v. Green, No. CR RDB-15-
 0526, 2016 WL 277982, at *3 (D. Md. Jan. 21, 2016); United
 States v. Walker, No. 3:15cr49, 2016 WL 153088, at *8-9 (E.D.
 Va. Jan. 12, 2016); United States v. Hunter, No. 2:12crl24, 2015
 WL 6443084, at *2                (E.D. Va. Oct.            22, 2015).

          Moreover,            the Supreme Court has not ruled that the residual
 clause        in § 924(c)(3)                 is unconstitutionally vague.                       Even with
 such a ruling,                 the    question would remain over its                        retroactive
 applicability on collateral review, which only the Supreme Court
 can determine. See 28 U.S.C. § 2244(b)(2)(A); Tyler v. Cain, 533
 U.S.     656,       662       (2001).       Should the        Supreme       Court    invalidate         the
 residual clause in § 924(c)(3) and recognize that new right as
 retroactively applicable on collateral review, a petitioner
 would have one year from the date of the invalidation to seek
 collateral relief on a § 924(c)(1) conviction. See 28 U.S.C.
 § 2255(f)(3).
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 No.    2:15cr97      (E.D.     Va.      Nov.       9,     2015);        United       States          v.    Waites,

 No.    2:15crll0      (E.D.      Va.    Oct.        30,    2015);        United States v.                  Hunter,

 No.    2:12crl24,       2015     WL     6443084           (E.D.    Va.       Oct.    23,       2015);       United

 States    v.    Standberry,            No.    3:15crl02,               2015    WL    5920008          (E.D.       Va.

 Oct.    9, 2015).       Indeed,        "[a]mple case law confirms the conclusion

 that    Hobbs     Act    robbery             can    serve         as    a     crime       of    violence           as

 defined by § 924(c)(3)(A)."                        McDaniels,            2015 WL 7455539,                   at    *6.

 The     Petitioner         has       not       presented               any     arguments             warranting

 departure       from     this         case         law,     and        the     court          reaffirms           the

 finding here.

         Because      Johnson      does        not       invalidate           the    residual          clause       in


 § 924(c)(3),         and because             Hobbs        Act     robbery           is    categorically a

 crime    of    violence        under         the     force        clause        of       § 924(c)(3),             the

 Petitioner's            convictions                for       violations                  of      18         U.S.C.

 § 924 (c) (1) (A)        do      not         implicate             the        holding           in        Johnson.

 The Petitioner,            therefore,               fails         to         state       a     claim         under

 Johnson, and his Motion is meritless. Accordingly,                                             the Motion is

 DENIED.


         The    Petitioner         is     ADVISED           that        he     may    appeal           from       this

 Memorandum Final Order by forwarding, within sixty (60)                                                    days of

 the entry date of this Memorandum Final Order,                                           a written notice

 of    appeal    to   the      Clerk      of    the        United        States       District             Court    at

 600    Granby Street,            Norfolk,           Virginia           23510.       The       court       declines
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 to issue a certificate of appealability for the reasons stated

 herein.


         The    Clerk     is DIRECTED   to   send   a   copy   of   this   Memorandum

 Final    Order to        the Petitioner and the United States Attorney at

 Norfolk.


         IT    IS   SO   ORDERED




                                             ^J^dF&o&Sst*^
                                         REBECCA BEACH     SMITH
                                         CHIEF   JUDGE



         fr 2016
 July A-J,
